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SUPPLEMENTAL JUROR QUESTIONNAIRE                             JUROR #

Thank you for participating in jury service. The following questions are used by the Court to obtain
information about you in order to assist in the jury selection process. Providing complete answers will
save time for you and the Court.

Remember, there are no "right" or "wrong" answers. The only correct answers are those that
are honest, thoughtful and most accurately reflect your personal attitudes, beliefs, and
experiences. It is very important that you answer the questions to the best of your ability and in the
most complete manner as possible.

Please fill out the answers by yourself without consulting any other person.

If you need additional space for your answers, or wish to make further comments, please use the
page attached at the very end of this questionnaire - Please do not use the back of any page for
your comments. Simply identify the question number next to your continued response.

You are instructed by the Court not to discuss anything about this case with anyone, even your spouse
or significant other, nor are you to research this case or anything related to it, by any means, including
the internet, social media, radio, newspapers, discussions with others, or in any other manner. Your
failure to abide by this directive may result in contempt of court proceedings against you, and a
possible fine and/or imprisonment.

When you finish answering all of the questions, you are required to sign this questionnaire.

As you fill out this questionnaire please remember that your written answers are given under oath.

Thank you very much for your cooperation!



HONORABLE WILLIAM P. JOHNSON
CHIEF UNITED STATES DISTRICT JUDGE
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SUPPLEMENTAL JUROR QUESTIONNAIRE                                       JUROR #
1. Print Full Name:
2. Age:                 3. Gender:                        4. Race/Ethnicity:
5. Are you currently: (please check all that apply)
    cEmployed FT cEmployed PT cHomemaker cRetired cUnemployed cDisabled cStudent
6. Indicate current job, place of employment, and job duties. (If not currently working, indicate prior job)




7. What other types of jobs have you worked at in your life, and which was your favorite?




8. Indicate your highest level of education, and any degrees or certificates, and major area of study, if any:




9. Have you ever served in any branch of the armed forces of the United States (including the military
reserves, National Guard, or ROTC)?       cYES cNO If YES, please answer the following:
    a) List branch of service, approximate years of service, and highest rank at discharge:


    b) Did you ever serve in active combat duty? cYES cNO If YES, which conflict, theater, etc?


10. Please check all that describe your marital status:
cSingle, never married cSingle, prior marriage cMarried (or living with partner) cDivorced cWidowed
11. If married, or living with someone, please describe your spouse/partner's occupation, place of employment
and highest level of education:




12. Indicate any children by age, gender, occupation (if any) and if they live in your home full-time, part-time,
or not at all:




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ABILITY TO SERVE
Once jury selection is completed, this trial is expected to start on September 26, 2023 and then last up to 4
weeks. Court sessions will last from approximately 9:00 am until 5:00 pm each day, with regular breaks
approximately every 90 minutes, and a 60-minute break for lunch.
13. Do you wish to apply to the Court to be excused on the grounds that jury service in this case would be a
serious hardship to you? cYES cNO          If YES, please explain:




14. Do you have any personal, family, or professional obligations that you feel would seriously interfere with
your ability to focus and concentrate as a juror in this case? cYES cNO If YES, please explain:




15. Does your employer pay you for time missed as a result of jury service? cYES cNO cUNSURE*
   *If you are unsure, please find out before you return to court for jury selection questioning.
16. Do you have any condition, disability, or need that will require any special consideration or accommodation
while you are in court? cYES cNO If YES, please explain:




17. Do you have hearing difficulties not corrected by a hearing aid? cYES cNO
18. Do you have trouble seeing even with glasses? cYES cNO
19. a. Are you taking any medication(s) regularly? cYES cNO
   b. Do any of these medications affect your memory or concentration? cYES cNO If YES, please explain:




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PUBLICITY AND MEDIA
In this case the United States alleges Defendants Jany Leveille, Siraj Ibn Wahhaj, Hujrah Wahhaj,
Subhanah Wahhaj and Lucas Morton engaged in crimes related to providing material support to
terrorists, conspiracy to murder an officer or employee of the United States, possession of a firearm by a
person unlawfully in the United States, and kidnapping resulting in death. It is alleged the Defendants, who
are Muslim, travelled from Georgia to New Mexico with Siraj Ibn Wahhaj's minor son, A.G, who suffered
from disabilities. It is alleged A.G. died sometime after he arrived in New Mexico. The crimes are alleged
to have occurred in Taos County, Amalia, New Mexico on or about October 2017 through August 2018.
20. Please describe in detail anything that you believe you have read, seen or heard about this case from the
media, or conversations with others, and your sources of information. Use comment page at end of this
questionnaire if additional space is needed:




21. Are you familiar with Amalia, NM, or have you ever visited the area or known anyone who lived nearby?
cYES cNO If YES, please explain:




22. What opinions, if any, have you formed about this case, or any of the defendants involved?




23. Have you ever known or had any type of relationship with any person, or family member of any person,
who is in any way involved in this case or the underlying incidents, investigation, or prosecution?
cYES cNO If YES, please explain:




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24. A) Have you ever had any personal or professional involvement with any State or Federal prosecutor
     or agency such as a US attorney, the DOJ, office of a District Attorney, or similar lawyer or agency?
    cYES cNO If YES, please explain:




    B)Have you ever had any personal or professional involvement with any criminal defense attorney?
    cYES cNO If YES, please explain:




CHILDREN AND FAMILIES
25. Have you ever shared custody of a child with a parent not living in your home? cYES cNO
If YES, please describe how well, or poorly, you think the shared custody arrangement has worked:




26. Have you ever had sole custody of a child where the other parent’s custodial or visitation rights were
terminated or limited? cYES cNO If YES, please describe how this came about, and how you feel about
how this arrangement has worked:




27. Have you ever had a child where your custodial or visitation rights were terminated or limited cYES cNO
If YES, please describe how this came about, and how you feel about how this arrangement has worked:




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28. Have you ever had a cfriend or cfamily member who has dealt with a highly contentious or difficult
   situation involving custody of a child? cYES cNO If YES:
   a) Please briefly describe the situation:




   b) Please briefly describe how comfortable or uncomfortable you felt about giving this friend or family
   member advice about the situation, and whether or not you feel it was your place to do so:




29. Have you ever had a cfriend or cfamily member who has made parenting decisions you disagreed with or
   felt could be harmful to their children? cYES cNO If YES:
   a) Please briefly describe the situation:




   b) Please briefly describe how comfortable or uncomfortable you felt about giving this friend or family
   member advice about how they parented their child, and whether or not you feel it was your place to do so:




COURTS AND COMMUNITY
30. Have you or a close friend or a family member ever worked in a law enforcement related job or agency?
cYES (self) cYES (friend or family) cNO If YES, please explain who, when, where, and the type of job:




31. Do you believe that the testimony of sworn law enforcement officers should be given more importance and
credibility than that of other witnesses result of their status? cYES cNO Briefly explain why or why not:




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32. Have you or a close friend or a family member ever been a victim of any violent crime?
cYES (self)    cYES (friend or family)      cNO If YES, please indicate who was involved, when and where
it occurred, what happened, the outcome, and what impact this experience had on you:




33. Have you or a close friend or a family member ever been arrested, charged with, or convicted of a crime
other than a traffic offense? cYES (self)   cYES (friend or family)    cNO If YES, please indicate who
was involved, when and where it occurred, what happened, and whether or not you feel the process was fair:




34. Do you, or anyone in your family, own any guns? cYES (self) cYES (family member) cNO If YES:
   a) how many, and what type(s) of gun(s) do you or family members own?




   b) Identify for which purposes the guns are owned: (check all that apply)
   cSelf Defense cHunting cFamily Heirloom cRecreation cCollecting cOther
   c) About how often do you or a family member fire a gun at a practice range or for target practice?
   cEvery week or so cEvery month or so cOnce or twice a year cOnce or twice ever cNever
35. If the government accuses someone of a serious crime such as kidnapping or terrorism, do you believe that
the accused is probably guilty? cYES cNO Explain why or why not:




36. How do you think innocent people end up being found guilty by juries of crimes they did not commit?




37. What are some things you believe jurors could do to prevent wrongful convictions from happening?




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SOCIETY AND RELIGION
38. What is your current religious affiliation, if any?
39. How often do you attend religious services, or participate in church-related activities?
cNever cA few times a year cA few times a month cWeekly cTwo or more times a week

40. Have you, or a close friend or family member ever identified as a Christian (any denomination)?
cYES (self)     cYES (friend or family) Indicate relationship:                                              cNO

41. What are your thoughts, feelings, opinions about Christianity and Christians generally?
cVery Negative cSomewhat Negative cNeutral cSomewhat Positive cVery Positive

42. Have you, or a close friend or family member, ever identified as a Muslim?
cYES (self)     cYES (friend or family) Indicate relationship:                                              cNO

43. What are your thoughts, feelings, opinions about the Islamic religion and Muslims generally?
cVery Negative cSomewhat Negative cNeutral cSomewhat Positive cVery Positive

44. Do you believe that being a practicing Muslim is a risk factor for being involved in terrorism related crimes?
cYES cPROBABLY cPROBABLY NOT cNO NO Explain:




45. Do you believe that practicing Islam, or being a Muslim is more likely than a Christian or other non-Muslim
to be involved in activities related to terrorism? cYES cPROBABLY cPROBABLY NOT cNO Explain:




46. Have you, or anyone you know, ever had religious or personal beliefs that oppose some or all conventional
medical recommendations or treatments in favor of more faith-based or non-conventional approaches?
cYES (self) cYES (someone I know) cNO If YES, please briefly explain:




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47. What are your thoughts and feelings about the rights of parents and families to make their own decisions
about how and when to follow conventional medical treatments or recommendations, and when to choose non-
conventional or faith-based approaches? Should families have this right? Who should decide?




48. Have you ever had any personal or professional experience, training or education related to religious “cults”
of any kind? cYES cNO If YES, please explain:




49. Should membership in a religious cult be a crime? cYES cPROBABLY cPROBABLY NOT cNO
Explain:




50. Some religious groups, such as Scientologists, Christian Scientists, Jehovah's Witnesses, and others, are
often described as “cults” by non-members. Members of these groups dispute that label. What do you think
about this? What to you defines a “cult” as opposed to a “non-cult” religious group? Should the government
decide which groups are cults, and which are not?




51. What thoughts and opinions do you have about people who become involved in religious cults as leaders?




52. What thoughts and opinions do you have about people who become involved in religious cults as believers
or followers?




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53. Do you think that some people who become involved as believers or followers in some religious cults (such
as the Manson Cult, the Branch Davidians, the Jonestown Cult, or others) might be “brainwashed,” or coerced
into doing things they might not otherwise do by a cult leader? cYES cNO Explain why or why not:




OTHER LIFE EXPERIENCES AND KNOWLEDGE
54. Have you, a close friend or family member, ever had any personal or professional experience with an
adult or child suffering from seizures, epilepsy, encephalitis, or meningitis? cYES cNO If YES, explain:




55. Have you, or a close friend or family member, ever had personal or professional experience with severe
mental illness such as schizophrenia or psychosis of any kind? cYES cNO If YES, please explain,
including the nature of the problem, how this affected them, and any treatment and their response to it:




56. Have you ever had any education, training, or experience in the field of mental health or psychology?
cYES cNO If YES, please explain:




57. What are your thoughts and opinions about psychologists, psychiatrists, or other mental health professionals
who come and testify in some criminal trials?




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58. Have you ever read, seen, heard, or learned about off-grid, sustainable structures such as “earthships,” or
other similar structures, often built partially underground and from materials such as tires, dirt, and other
recycled and natural materials? cYES cNO If YES, briefly describe your knowledge and familiarity with
such structures, your opinions about them, and how you learned about this:




59. Do you regularly use social media, such as Facebook, Instagram, Twitter, or Snapchat? cYES cNO
If YES, please indicate which platforms you usually use, how often, and for what purposes. If NO, why not?




60. In your opinion, is there anything else you now know about this case, the crime, the issues, or the people
involved, or your own background, experience, or circumstances, that might hinder you, even slightly, from
being as fair and impartial a juror as you would like to be? cYES cNO If YES, please explain:




Please review the list of names and organizations on the following page, and then answer this final
question:
61. Are you familiar with any of the individuals or organizations named? cYES cNO cUNSURE
If YES, or UNSURE, please indicate in the space below who you know, or may know, and how you are or may
be familiar with them.




With my signature below, I solemnly swear or affirm that the answers above are true, correct and complete.


Signature:                                                                                   Date:
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Please review the following names. If you are familiar with any of these individuals or organizations:
1- Please circle name you are, or may be, familiar with, and
2- If you have circled any of the names below, please check “YES” or “UNSURE” on the last question on
the previous page, and write the name or names there which you have checked and indicate there how
you know or may know the person or organization. THANK YOU!
INSERT WITNESS LIST HERE




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ADDITIONAL COMMENTS
(Please mark your responses to reflect the question number you are responding to. Thank you!)




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